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Form CGFD39 (10/17/05)




ORDERED in the Southern District of Florida on February 1, 2006




                                                                       Steven H Friedman
                                                                       United States Bankruptcy Judge


                                               United States Bankruptcy Court
                                                  Southern District of Florida
                                                     www.flsb.uscourts.gov
                                                  Division: West Palm Beach

                                                                                                                      Case Number: 05−36749−SHF
                                                                                                                      Chapter: 7


In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address)
Steven C. Rodgers
aka Steven Rodgers
1164 SW 28 Ave
Boynton Beach, FL 33426

Last four digits of Social Security No(s).: xxx−xx−2693
                                                                                                                              CLERK
                                                                                                                              USBC
                                                                                                                               SDFL
                                                                                                                              FILED
                                                                                                                              2/1/06


                                                  DISCHARGE OF DEBTOR(S)

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED :

The debtor is granted a discharge under § 727 of title 11, United States Code, (the Bankruptcy Code).


        SEE THE BACK OF THIS ORDER FOR "EXPLANATION OF BANKRUPTCY DISCHARGE".

Copies to: All Parties of record


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                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property:] [There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes; applies to cases filed on or after October 17, 2005;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts.

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans; applies to cases filed on or after
      October 17, 2005.

       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.

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